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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

                                        CLERK'S MINUTES


 CASE NO.          8:21-cv-839-SDM-AAS                 DATE:               May 27, 2021
 HONORABLE ANTHONY E. PORCELLI
 STATE OF FLORIDA                                      PLAINTIFF=S COUNSEL
                Plaintiff,                             James Percival and Anita Patel
 v.
                                                       DEFENSE COUNSEL
 XAVIER BECERRA et al                                  Amy Powell
               Defendant
 COURT REPORTER:           N/A                         DEPUTY CLERK:        Lynne Vito
 TIME: 10:00 am to 9:00 pm        TOTAL: 11 hours      COURTROOM:          10A

PROCEEDINGS:       SETTLEMENT CONFERENCE HELD (VIA ZOOM)

Settlement conference is continued to Tuesday, June 1, 2021.
